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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:07CR346
                      Plaintiff,                  )
                                                  )
         vs.                                      )              ORDER
                                                  )
RACHEL LENAGH,                                    )
                                                  )
                      Defendant.                  )
         This matter is before the court on the motion to continue by defendant Rachel
Lanagh (Lenagh) (Filing No. 19). Lenagh seeks a continuance of the trial of this matter.
Lenagh has submitted an affidavit wherein she represents that she consents to the motion
and acknowledges she understands the additional time may be excludable time for the
purposes of the Speedy Trial Act (Filing No. 20). Upon consideration, the motion will be
granted.


         IT IS ORDERED:
         1.    Lenagh's motion to continue trial (Filing No. 19) is granted.
         2.    Trial of this matter is re-scheduled for April 7, 2008, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
December 31, 2007 and April 7, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants' counsel require additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A)
& (B).
         DATED this 31st day of December, 2007.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
